               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )      Criminal No. 3:07-00223
v.                                              )      Judge Trauger
                                                )
[1] REGGIE K. JACKSON                           )

                                       ORDER

      It is hereby ORDERED that the revocation hearing continued from October 7, 2013 is

RESET for Monday, December 9, 2013, at 3:00 p.m.

      It is so ORDERED.

      ENTER this 7th day of October 2013.



                                                ________________________________
                                                      ALETA A. TRAUGER
                                                        U.S. District Judge




 Case 3:07-cr-00223     Document 239        Filed 10/07/13   Page 1 of 1 PageID #: 631
